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                                                      Administrative Directive
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          04.25.101               Chaplaincy Services                                                               6/1/2018

                7.         Each facility shall set aside a specific area, wherever feasible, such as a chapel, for religious
                           activities. Religious symbols shall be covered or removed during religious activities for a faith
                           which does not recognize such symbols. The religious activity area shall not contain any
                           permanent or fixed religious symbols that cannot be covered or removed. Each facility shall
                           provide an area to store religious materials for conducting religious activities.

          F.    Offender Requests for Religious Accommodations

                1.         The Senior Chaplain or facility chaplain shall review any offender requests regarding religious
                           issues in accordance with Department Rule 425. This may include, but not be limited to, requests
                           to:

                           a.       Meet with a chaplain or a religious program volunteer;

                           b.       Schedule a specific religious activity;

                           c.       Obtain approval for an alternative diet based on documented, sincerely held religious
                                    beliefs;

                           d.       Attend religious activities outside the offender's faith or change religious affiliation;

                           e.       Be relieved from an institutional program or assignment for a specific religious purpose;
                                    or

                           f.       Obtain religious articles and materials, including audio recordings not obtained directly
                                    from an approved manufacturer, retailer or distributor.
                1
                    2.     The Senior Chaplain shall ensure documentation is maintained of approval or disapproval of
                           responses to religious requests.

          G.        Requests to the Religious Practice Advisory Board

                    The Chairperson of the Religious Practice Advisory Board shall review requests of a religious nature that
                    have been referred to the Board and determine the course of review.

                    1.      The request may be assigned to one or more Board members for review and recom mendation.
                  ·,
                ' 2.        The Board shall confer with religious leaders of other faith groups when it is determined
                            necessary.

                    3.      The Chairperson shall submit the recommendation to the individual who referred the request.




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                                     submitted to the CAO for approval. The approved schedule shall be made accessible to
                                     offenders.

                       , e.          Ensure Chaplaincy staff make regular rounds at the facirity, including regular visits to any
                                     special housing unit such as the segregation unit.

                 5.      Unless otherwise approved by the Senior Chaplain, offenders who are in general population, or
                         who are otherwise approved by the CAO, may only be permitted to attend regularly scheduled,
                         non-denominational and inter-denominational religious activities or religious activities for a
                         specific faith group with which the offender has a designated affiliation.

                         a.          An offender's self-reported designated religious affiliation shall be entered in Offender
                                     360 (0360) upon admission to the Department. An offender may choose to designate no
                                     affiliation. Self-reported designated religious affiliations do not constitute endorsement or
                                     recognition of that religion by the Department.

                         b.          If the designated religious affiliation is not currently available in Offender 360, the Senior
                                     Chaplain shall forward the designation request to the Religious Practice Advisory Board
                                     for review and recommendation.

                         c           After orientation, the designation may only be changed, or affiliation added, in 0360 as
                                     approved by the Senior Chaplain of the offender's parent facility.

                         d.          The Senior Chaplain may conduct a personal. interview with the offender to assess the
                                     sincerity of the request to change the offender's religious affiliation. The Senior Chaplain
                                     may refuse to change the affiliation if he or she determines that the change is being
                                     requested for other than religious reasons. The Religious Affiliation Sincerity
                                     Assessment, DOC 0536, may be used to assist in determination.

                 6.      Facility Chaplains shall:

                         a.          Provide for religious services on a regular basis and on specific religious holidays.

                        b.           Provide religious counseling at the request of offenders, staff or family members of
                                     offenders concerning their spiritual, social and family problems as determined necessary
                                     and appropriate, regardless of the person's religious beliefs or affiliation.
                              l
                       1 c.          Serve as a liaison between the facility and community religious organizations.

                        d.           Develop and conduct or facilitate educational and instructional religious programs.

                        e.           Coordinate the administration of religious rites, where appropriate.

                        f.           Provide offender orientation regarding:

                                     (1)        Basic services available through the Chaplaincy Office;

                                     (2)        The schedule of religious activities;

                                     (3) -· ·   The procedure for attending services and contacting chaplaincy staff; and
                                            1
                                     (4)        The process for making religious requests.

                        g.           Have access to all offenders, regardless of their classification or status, and to all areas
                                     of the facility, including special housing units.



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I
I                                        CATHOLIC                                                    0:
                                                                                                      I
                                                                                                      I
                                                                                                      '
I   1. THEOLOGY/BELIEFS/BASIC TEACHINGS
            Catholics are Christians who believe that their baptism into the death and
I   resurrection of Jesus Christ joins them to a community on earth, which is the church. The
    faith centers on the belief that Jesus Christ was sent by God to be their Redeemer. As a
    community they gather and celebrate this belief through the Mass with a Eucharist/
I   Communion. In the Mass, the faithful with the presiding priest or bishop participate in
    the proclamation and hearing of the Word of God and in the offering and reception oft."1.e
    Body and Blood of Christ, whom Catholics believe is really present under the appearance
I   of bread and wine.
            As an organization, the Catholic Church is made up of parishes under priest
                                                                                                      i
                                                                                                      l
    pastors which are grouped in dioceses under Bishops or Archbishops. The Catholic                  'i
I   Church is lead by the Pope, as a successor of Peter, and Cardinals and Bishops appointed
    by the Pope. A Pope is deemed infallible when issuing declarations on matters of faith.
                                                                                                      i
                                                                                                      l
                                                                                                      !
                                                                                                      I
            The beliefs of the Catholic Church are summarized in a creed, called The                  !
I   Apostles' Creed, which is recited at each Mass.                                                   ~
                                                                                                      I
                                                                                                      ,<
                                                                                                      j

I   2. HOLY DAYS/CELEBRATIONS/ FEAST
        · Holy days include all Sundays and the follo\:\-i.ng special liturgical days, called
    Holy Days of Obligation:
I         December25
          November 1
                                       Feast of the Nativity (Christmas)
                                       All Saints Day
          40 days after Easter         Feast of the Ascension
I         August 15 ·
          December 8
                                       Feast of the Assumption
                                       Feast of the Immaculate Conception of the Blessed Mother
          Ja.i,uary 1                  Feast of Solemnity of Mary
I           Some ethnic groups may celebrate saints' feast days that are significant to them. Such
    feasts should be addressed on a case-by-case basis.
I           Also celebrated are the special seasons of Advent and Lent. Advent, which
    begins each year on the fourth Sunday before Christmas, is a time of both penance and
    anticipation in preparation for the birth of Christ. The Lenten season begins on Ash
I   Wednesday and concludes. on Holy Saturday (the day before Easter Sunday). Ash
    Wednesday is observed as the first day of the Lent. On this day, Catholics receive

I   blessed ashes to remind them of their own mortality as they begin the penitential season
    of Lent. Blessing and distribution of pahns occurs on Palm Sunday, which is the Sunday
    preceding the Feast of the Resurrection (Easter Sunday).The last week in Lent, called

I   Holy Week, commemorates the passion and resurrection of Christ. Holy Thursday
    commemorates the anniversary of the Last Supper, Good Friday commemorates the death
    of Christ on the cross, and Holy Saturday anticipates Christ's resurrection. Easter

I   Sunday is the most solemn annual feast day and considered the center of the liturgical
    year.


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                                                82    PLAINTIFF'S EXHIBIT B-82                            !:'.

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                                                                                                      -rt:t
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                                                                                                    I.
    3. HOLY BOOK/SACRED WRITING
    The Holy Bible (the most frequently used versions would be the New American Bible
                                                                                                    I
    and the revised standard version-Catholic Edition). A Missal, which includes prayers and
    readings for daily mass and other devotions.                                                    I
    4. SERVICE/WORSHIP
            All Catholics have the obligation of attending Mass on all Sundays (52 Sundays each
                                                                                                    I
    year) and on the listed 6 Holy Days of Obligation. There is no obligation to attend mass when
    the Feasts of Solemnity of Mary~ Assumption or All Saints Day fall on a Saturday or Monday.
    Sacraments:
                                                                                                    I
            There are 7 Sacraments which are: 1. Sacrament of Baptism, 2. Sacrament of
    Penance or Reconciliation (Confession), which must be received at least once a year if          I
    one has serious sin to confess, 3. Sacrament of Holy Communion, 4. Sacrament of
    Confirmation, 5. Sacrament of Marriage, 6. Sacrament of Holy Orders (ordination as a
    priest), and 7. Sacrament of Anointing of the Sick.                 ·                           I
            Catholics practice infant baptism. Any adult seeking admission to the Catholic
    Church must go through a period of formation called the Rite of Christian Initiating of
    Adults (RCIA), which is a four staged journey of conversion.                                    I
    5. DIET                                                                                         I
           There are no general food restrictions. During the Lenten season, those 14 and
    older must abstain from meat all Fridays of Lent and also Ash Wednesday. All those
    over 18 and not yet 59 must fast on Ash Wednesday and Good Friday.
                                                                                                    I
    6. OTHER REQUIREMENTS
                                                                                                    I
            No headgear is required. No specific clothing is required. May wear a cross or
    religious medal with a chain. A rosary may be used as a form of devotion. A scapular
    (which is a pair of small cloth squares joined by shoulder tapes worn under clothing on
                                                                                                    I
    the breast and back) may be worn. The colors and pictures or symbols on the scapular
    may vary.                                                                                       I
    7. PRACTIONERS/CLERGY
           Ordained priest and deacons are the usual ministers of the sacraments. Only men
                                                                                                    I
    can be ordained as priests-or higher clergy (i.e. bishop, archbishop, cardinal, pope). Mass
    is always said by a priest, though non-ordained lay persons may preside over communion
    services.

                                                                                                    I

•                                  PLAINTIFF'S GROUP
                                                83
                                                                   EXHIBIT H- 83
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          3.      Approved requests for religious diets shall begin the first day of the month and end on the
                  last day of the month and shall be in effect for a minimum of one calendar month.

          4.      Offenders may grieve decisions regarding religious diets in accordance with 20 Ill. Adm.
                  Code 504.

          Requirements

        VThe Chief Administrative Officer of each facility shall:

          1.      Ensure the Food Service Operations Manual provides a local procedure for menu
                  planning and meal service for religious diets in accordance with Administrative Directive
                  05.02.145.

         (2.. :   Ensure offenders are notified of the procedure for requesting religious diet
                  accommodation via Warden's Bulletins, posted notices or the offender handbook.

   G.     Processing Requests for Religious Diets

          1.      Offender requests for religious diets or to receive a special religious meal for the
                  observance of a specific holiday or ceremony shall:

                  a.        Be submitted to the facility Chaplain on an Offender Request for Religious Diet,
                            DOC 0388.

                  b.        Be submitted at least 45 days in advance of the observance of the religious
                            holiday or ceremony.

                  c.        Identify under what religion the diet is requested; provide a description of the
                            specific dietary requirement, tenet or practice being requested; and provide an
                            explanation demonstrating why the diet is being requested.

          2.      Upon receipt of the DOC 0388, the Chaplain shall review the request by verifying the
                  offender's religious affiliation on Offender 360 and review the sincerity and the reason
                  provided for the request. Other available information. including standard tenets of the
                  religious affiliation, commonly exercised religious dietary practice and known religious
                  dietary requirements may be reviewed in consideration of the request.

                  NOTE: Changes to an offender's self-designated religious affiliation shall be processed
                   and approved in accordance with Administrative Directive 04.25.101.

                   a.       If the request is incomplete or the information is inconsistent with the offender's
                            self-designated religious affiliation, the Chaplain shall:

                            (1)     Request additional information from the offender; or

                            (2)     Deny the request and notify the offender.

                            If the offender requests a diet other than a commonly exercised or acknowledged
                            dietary practice of the particular religion, the offender may be requested to
                            provide:

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Section         04        Programs and Services

Subsection      25        Religious Issues

Subject        102        Religious Diets


I.        . POLICY

          A.     Authority

                 730 ILCS 5/3-2-2 and 3-7-2

                 20 Ill Administrative Code 425, 501 and 504

          B.     Policy Statement

                 The Department shall permit the reasonable observance of bona fide religious dietary practice in
                 accordance with Department Rule 425 and the procedures outlined herein.

II.       PROCEDURE

          A.     Purpose

                 The purpose of this directive is to establish written instructions to staff for accommodating the
                 religious diets of offenders.

          B.     Applicability

                 This directive is applicable to all correctional facilities, excluding Transitional Security Level
                 facilities. Adult Transition Center Supervisors shall make arrangements for religious diets on a
                 case-by-case basis in consultation with the Office of the Chief Chaplain.

          C.     Facility Reviews

                 A facility review of this directive shall be conducted at least annually.

          D.     Designees

                 Individuals specified in this directive may delegate stated responsibilities to another person or
                 persons unless otherwise directed.

                 General Provisions

                     "'
                 1.       Offenders may request a religious diet or a special religious meal for observance of a
                          specific religious holiday or ceremony.

                 2.       All requests for religious meals for the observance of a religious holiday or ceremony
                          shall be submitted, in writing, at least 45 days prior to the event.



                                          O'Neal v. Rojas, 18-4063 (C.D. Ill.) Document No. 000013
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                                   Joint Committee on Administrative Rules

                                   ADMINISTRATIVE CODE
               TITLE 20: CORRECTIONS, CRIMINAL JUSTICE, AND LAW ENFORCEMENT
                            CHAPTER I: DEPARTMENT OF CORRECTIONS
                             SUBCHAPTER d: PROGRAMS AND SERVICES
                   PART 425 CHAPLAINCY SERVICES AND RELIGIOUS PRACTICES
                      SECTION 425.40 RELIGIOUS PRACTICE ADVISORY BOARD



           Section 425.40 Religious Practice Advisory Board

                   a)              The Director shall appoint a multi-denominational Religious Practice Advisory
                                   Board comprised of legal, administrative, and chaplaincy staff. One of the members
                                   of the Board shall be designated as chairperson.

                    b)             The Board shall, among other matters:
                                        '-
                                            1
                                   1)              Provide guidance to the Department regarding religious activities.
                                   -.----
                                   2) )            Review and make recommendations regarding designated:

                                                   A)     Religious grievances filed by committed persons;

                                             ->-   B)     Requests from committed persons for religious diets, non-traditional
                                                          religious symbols, headgear, clothing, and other religious items;

                                                   C)     Requests from committed persons for religious activities not
                                                          currently offered at the correctional facility and for religious
                                                          activities permitted under Section 425.60(f);

                                                   D)     Requests from committed persons for relief from a work assignment
                                                          or institutional program for specific religious reasons; and

                                                   E)     fssues involving the training, screening, and reimbursement of
                                                          religious volunteers.
                     J'       ·1
                   ,fc )_..        The Board shall confer with religious leaders or faith representatives from various
                                   faith groups regarding the validity and legitimacy of the religious request and the
                                   sincerity of the committed persons' beliefs, as the Board determines necessary.

                     (Source: Added at 19 Ill. Reg. 6515, effective May 1, 1995)




                                                           O'Neal v. Roias, 16-4063 (C.D. Ill.), Document No.                000050
                                                                                                                                      1/1
 www.ilga.gov/cornrnission/jcar/admincode/020/020004250000400R.htm1
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                                Joint Committee on Administrative Rules

                                ADMINISTRATIVE CODE
                TITLE 20: CORRECTIONS, CRIMINAL JUSTICE, AND LAW ENFORCEMENT
                             CHAPTER I: DEPARTMENT OF CORRECTIONS
                              SUBCHAPTER d: PROGRAMS AND SERVICES
                    PART 425 CHAPLAINCY SERVICES AND RELIGIOUS PRACTICES
                      SECTION 425.30 ACCOMMODATION OF RELIGIOUS BELIEFS



           Section 425.30 Accommodation of Religious Beliefs

                        a)     Committed persons shall be provided reasonable opportunities to pursue their
                               religious beliefs and practices subject to concerns regarding security, safety,
                               rehabilitation, institutional order, space, and resources .
                   ,   .'C
               {        b) ,   Participation in or attendance at religious activities shall be voluntary.
                        _,,/
                        c)     Committed persons shall not pressure or coerce other persons to join or participate
                               in the activities of a particular religion.

                        d)     Committed persons shall not engage in religious activities which may encourage
                               violence against others or are likely to disrupt institutional safety or operations.

                       -"v
                       fie)    Conm1itted persons shall be requested to designate their religious affiliation during
                               the orient.ition process. Such designation of religious affiliation does not constitute
                               endorsement or recognition of that religion by the Department.

                         f)    Committed persons may only attend the religious activities of their designated
                               religion or non-denominational religious activities, except as provided in subsection
                               (g) of this Section pursuant to Section 425.60.

                        g)     Committed persons requesting to attend a religious activity of a faith other than
                               their designated faith shall submit their written request to the facility chaplain who
                               will detem1ine whether their attendance at the activity can be accommodated based
                               on factors such as security, safety, rehabilitation, institutional order, space, and
                               resources.

                        h)     Committed persons desiring to designate their religious affiliation after the
                               orientation process or to change their designated religious affiliation shall submit
                               the written request to the facility chaplain. The facility chaplain may refuse to
                               change the affiliation if it is determined that the change is being requested for other
                               than religious reasons. This determination may be based, among other matters, on
                               the frequency of changes or a pattern of changing religious affiliation prior to a
                               particular faith group's scheduled holiday or celebration.

                        (Source: Added at 19 Ill. Reg. 6515, effective May l , 1995)


                                               O'Neal v. Roias, 16-4063 (C.D. Ill.), Document No.            000049
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                                    ADMINISTRATIVE CODE
               TITLE 20: CORRECTIONS, CRIMINAL JUSTICE, AND LAW ENFORCEMENT
                            CHAPTER I: DEPARTMENT OF CORRECTIONS
                             SUBCHAPTER d: PROGRAMS AND SERVICES
                   PART 425 CHAPLAINCY SERVICES AND RELIGIOUS PRACTICES
                       SECTION 425.70 ACCOMMODATION OF RELIGIOUS DIETS



           Section 425.70 Accommodation of Religious Diets
                   . ..------....
                  'a) ;             Committed persons shall be permitted to abstain from any foods the consumption of
                                    which violates their required religious tenets.

                   b)               Any foods which contain pork or pork by-products shall be identified in accordance
                                    with 20 Ill. Adm. Code 502.20.

                 - c)               A committed person may submit a written request to the facility chaplain to receive
                                    an alternative diet for specific religious reasons. The request must contain written
                                    verification that the committed person is a member of a faith group that requires
                                    adherence to a particular diet and the specific requirements of the diet. 'Eligibility to
                                    rece ive an alternative diet for specific religious reasons shall be de termined by the
                                    facility chaplain \¾bQ. shall ordinarily confer with a religious leader or faith
                                    representative of the faith group at issue:.J The facility chaplain and the religious
                                    leader or faith representative may interview the committed person.

                  . d)              A committed person requesting a dietary modification required b y a specific
                                    religious holiday or ceremony must submit a written request to the faci lity chaplain
                                    45 calendar days before the holiday or ceremony. The request must contain
                                    verification that the committed person is a member of a faith group requiring the
                                    dietary modification and the specific requirements of the dietary modification.
                                    Eligibility to receive an alternative diet for a specific religious holiday or ceremony
                                    shall be determined by the facility chaplain who shall ordinarily co nfer with a
                                    religious leader or faith representative of the faith group at issue. The facility
                                    chaplain and religious leader or faith representative may interview the committed
                                    person.

                     e)             A committed person who does not adhere to the alternative diet shall no longer
                                    receive the alternative diet, unless otherwise approved by the Chief Ad ministrative
                                    Officer.

                     (Source: Added at 19 Ill. Reg. 6515, effective May 1, 1995)




                                                    O'Neal v. Roias, 16-4063 (C.D. Ill.), Document No.             000054
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                            4)       Written agreement by a chaplain, faith representative, or recognized
                                     religious leader of that faith group to provide general oversight and guidance
                                     of the religious activity is received;

                            5)       The Religious Practice Advisory Board recommends approval; and

                            6)       The committed person submits a copy of any proposed sermon or doctrinal
                                     interpretation to the Chief Administrative Officer or staff designated to
                                     supervise the religious activity for review and approval prior to delivery,
                                     based on safety and security concerns.

                   g)       The staff supervisor may call upon various committed persons to guide portions of
                            the religious activity subject to safety and security concerns.

                   h)       Religious activities defined under subsection (f) of this Section shall be prohibited
                            where based solely on the temporary or occasional unavailability of a chaplain or a
                            religious program volunteer.

                   i)       The Chief Administrative Officer may limit, restrict, or discontinue religious
                            activities permitted under subsection (f) of this Section based upon concerns such as
                            security, safety, rehabilitation, institutional order, space, or resources and may
                            require periodic rotation of committed persons permitted to guide portions of
                            religious activities.

                   (Source: Added at 19 Ill. Reg. 65 I 5, effective May 1, 1995)




                                              O'Neal v. Roias, 16-4063 (C.D. Ill.), Document No.         000053
www.ilga.gov/commission/jcar/admincode/020/020004250000600R.htm1                                                      2/2
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 does not preclude an offender from filing a grievance when the names of individuals are not known,
 but the offender must include as much descriptive information about the individual as possible. All
 grievances (except those on DR's) must be addressed and signed by Counselors before they are sent
 to the Grievance Officer.                                                                                           r
                                                                                                                     !
                                                                                                                     l
 Staff assistance shall be available as requested by those offenders who cannot prepare their
 grievances unaided, as determined by institutional staff. All offenders shall be entitled to file
 grievances regardless of their disciplinary status or classification. Additionally, each facility shall
 take reasonable steps to ensure that the grievance procedure is accessible to offenders who are
 impaired, disabled, or unable to communicate in the English language.

 Offenders shall be informed of the grievance procedure at the admitting facility and may request
 further information regarding the procedure from their Counselors. The written procedure shall be
 available to all offenders (usually through the orientation manual) . An offender unable to speak or
 read the English language may request that the procedure be explained in the individual's own                       r
 language.                                                                                                           '
                                                                                                                     I

                                                                                                                     t
 According to 730 ILCS 5/3-8-8, a record of the grievance and any decision made with respect to it
 shall be preserved for a period of one year. Offenders shall be allowed to communicate emergency                    f
                                                                                                                     l
 grievances directly to the Director or designee outside of the institution or facility where the person
 is confined. Discipline shall not be imposed because of the use of grievances.                                      l

 Grievance Officer - 504.820 V
                                                                                                                     l
'The Chief Administrative Officer shall appoint 2 or more employees who may serve as a Grievance
 Officer to attempt to resolve problems, complaints, and grievances that offenders have been unable
                                                                                                                     f
                                                                                                                     \'
                                                                                                                     <.
 to resolve through informal channel~ No person who is directly involved in the subject matter of the
 grievance or who was a member of the Adjustment Committee that heard a Disciplinary Report
 concerning the grievance may serve as the Grievance Officer reviewing that particular case.
                                                                                                                     l
                                                                                                                     l.



 Grievance Procedures - 504.830
 A Grievance Officer shall review grievances at least weekly, provided that one or more grievances
 have been filed. Grievances on issues that are deemed without merit may be returned as denied to the
 sender without further investigation. No merit grievances include grievances that have previously
 been addressed for which there is no additional information, and issues that do not involve or affect the
 offender. The Grievance Officer shall promptly submit a copy of any grievance alleging discrimination
 based on disability or a request for an accommodation based upon disability to the facility ADA                         {
 Coordinator. The facility ADA Coordinator shall conduct such investigation as deemed appropriate
 and make written recommendations to the Chief Administrative Officer for resolution of the grievance.

r An offender may be afforded an opportunity to appear before the Grievance Officer unless the
                                                                                                                          l
  grievance is deemed without meritJ The Officer may call witnesses as deemecl.appmpriate~
                                                                                                                          l
                                                                                                                          l.

 The Grievance Officer shall consider the grievance and report his or her findings and
 recommendations in writing to the Chief Administrative Officer. The Chief Administrative Officer
 shall advise the offender of the decision in writing within 2 months after receipt of the written                        L
 grievance, where reasonably feasible under the circumstances. Responses to duplicate grievances on
 issues that are currently being grieved may be combined in one response.
                                                                                                                          L
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    Revised                                                                           DR504
   09/30/2003
                                                     GRIEVANCE PROCEDURES

GRIEVANCE OFFICER TRAINING
PERFORMANCE OBJECTIVES
Upon completion of this training, participants shall be able to:

1. Describe the offender's rights and the role of grievances.

2. Demonstrate the ability to review "Committed Person's Grievances, DOC 0046" for content and
   logic.

3. Demonstrate the ability to accurately complete a "Response to the Committed Person's
   Grievance," DOC 0047.

4. Describe the responsibilities of the Grievance Officer.

5. Describe the process for forwarding grievances if they cannot be resolved at the institutional
   level.

DR 504 SUBPART F:        GRIEVANCE PROCEDURES FOR OFFENDERS -               504.800
This Subpart applies to adult and juvenile offenders assigned to correctional facilities within the
Department of Corrections with complaints, concerns, or other issues that cannot been resolved
informally.

Filing of Grievances - 504.810
An offender shall first attempt to resolve incidents, problems, or complaints other than complaints
concerning disciplinary proceedings through his or her counselor. If an offender is unable to resolve
the complaint informally or if the complaint concerns a disciplinary proceeding, the individual may
file a written gri<tvance on a grievance form (DOC 0046) that shall be made available in all living
units. The offender's Counselor must address the issue, or if it cannot"be resolved document the
specific reason. (The Counselor should not simply write "unresolved issue" on the Counselor section
of the grievance form). A grievance shall be filed within 60 days after the discovery of the incident,
occurrence, or problem that gives rise to the grievance. However, if an offender can demonstrate
tbat a grievance was not filed in a timely manner for good cause, the grievance shall be considered.
The grievance procedure shall not be utilized for complaints regarding decisions that are outside the
authority of the Department, such as parole decisions, clemency, or orders regarding length of
sentence or decisions that have been rendered by the Director.

The grievance form shall be addressed to the Grievance Officer and shall be deposited in the living
unit mailbox or other designated repository. The grievance shall contain factual details regarding
each aspect of the offender's complaint including what happened, when, where, and the name of
each person who is the subject of or who is otherwise involved in the complaint. This provision

DR 504 Grievance Procedures     ·o'NeaT·v.··Rojas;··1·0.:4n·o3·tc.n:lff.J;·oocu"ineiit"No:······uo01255
                               4:18-cv-04063-SEM-TSH # 106-1                 Page 15 of 34


       Proper Completion of the Grievance Form
       To initiate the grievance process, an offender must complete the DOC 0046-Comrrtitted Person's
       Grievance and submit it in accordance with DR 504F (or G) guidelines.

       DOC 0046-Committed Person's Grievance
       Offender's Section
       The offender completes the identifying information: date of submittal; name; register number;
       present facility and facility where the issue of the Grievance occurred. Common grievances
       categories can be checked to aid the Grievance Officer in categorizing the nature of the grievance.
       The narrative section allows the offender to explain the issue(s) being grieved and the "Relief
       Requested" section documents what the offender is requesting to resolve -the issue. Offenders may
       only file grievances on their own behalf. Grievances cannot be filed as petitions.
       There is no written requirement that "originals" be submitted. There is no requirement that separate
       grievances must be filed for each issue.

       Counselor's Response
       All grievances (other than disciplinary process) should be submitted to the offender's Counselor
       prior to submittal to the Grievance Officer. Assistance in filing the grievance may be needed by
       those who are physically or mentally challenged or who can not communicate in English.

I,   f"'-The Counselor should review the grievance issue(s) and relevant information, in an attempt to
       resolve the grievance at his/her level if possible; or indicate that the issue is outside the jurisdiction
       of the facility or otherwise unresolvable by the Counselor~

       Counselors should address the issue in a professional manner. The grievance issue should be the
       focus of the review - not the relief requested. Counselors should avoid including personal opinions
       or judgmental statements.

      Grievance Officer's Report
      The DOC 0047 (Grievance Response Form) should be completed by the Grievance Officer legibly,
      accurately, and thoroughly. Include the required information:
      • Date Received
      • Date of Review
      • Grievance# (optional)
      • Offender's Name and Register Number
      • Nature of Grievance (DR date 5/1/01 by C.O. John Smith; Personal Property- damaged
         television; Staff Conduct- Excessive Force 5/1/01, etc.)

     FFacts reviewed should include a brief summary of the issue (s) being grieved by the offender through
      review of the written grievance or summary of verbal statement given to the Grievance Officer..Jhe
      9rievance .Difi~n provides information pertaining to documentation reviewed and what.the
      ~ocumentation indicated4Infom1ation should be organized as follows:
                              ---,.


          l. Offender's statement to Grievance Officer, or summary of Committed Person's Written
             Grievance and issue(s) being grieved.

        {G) Specific information and documentation reviewed by the Grievance Officer as well as what
              the documentation revealed. Summarize information (Disciplinary Reports, Adjustment
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         Committee Summaries, Shakedown Slips, Incident Reports, etc.) reviewed pertaining the                  to                  f
         offender's grievance; Staff statements provided regarding the offender's concerns (include
         name and title of staff person as well as information provided); Reference Department Rules,
                                                                                                                                l
         Administrative or Institutional Directives, and/or facility bulletins with regard to the                                   f.
         offender's grievance ensuring the institution is in compliance with established policies and
         procedures.
                                                                                                                                I
 , 6Provide a complete report of documentation as reviewed by the Grievance Officer with the
    basis of recommendation to affirm, deny or modify the offender's grievance.
                                                                                                                                f
                                                                                                                                I

Recommendation: ~upon.a-tot~ 1:~view o[_all available informatim;i, P-rovide a recammendatioTL                                  l
to the Chief Administrati_vC?__Q_ffic~r (see page 53, "Recommendation Language").

Reviews should be completed in a responsive manner by both the counselor and the Grievance
Officer. Avoid using language that would give the appearance of value judgments when considering
the offender's explanation or defense. Grievance Officer reports may be reviewed as part of a
litigation process. Reports should be completed in a professional manner. This is not the medium for
expounding upon one's personal beliefs, opinions, etc. Do not indicate an offender's request for
relief is inappropriate and the issue will not be reviewed. The relief requested is not the issue being
grieved.

Upon completion of the Grievance Officer's review, a report of findings and recommendation is
submitted in writing to the Chief Administrative Officer within a reasonable timeframe. A timely
                                                                                                                                (
review by the Grievance Officer is most important in order to avoid losing pertinent documents,
information, recollection of incidents by witnesses, etc. Additionally, the process becomes
                                                                                                                                f
                                                                                                                                [
                                                                                                                                t _.
meaningless if corrective action cannot be initiated, nullifying the process.

CAO Portion
                                                                                                                                [
The Grievance Officer's report is forwarded to the CAO for review and approval. The CAO or
designee shall:                        ·
    1. concur with the recommendation;
   2. remand the issue for further review; or
   3. disapprove the recommendation.

Comments can be included. The CAO shall sign and date the decision. A copy of the CAO's
decision shall be provided to the offender.

Emergency Grievances
Offenders may pursue issues they deem to be emergencies directly to the Chief Administrative
Officer Emergency is described in DR 504 as:
                                                                                                                                L
   • A substantial risk of imminent personal injury or                                                                              i
   • Other serious or irreparable harm to the offender.                                                                             l
The CAO shall have the final determination as to whether the grievance is reviewed as an
emergency. The Chief Administrative Officer is to expedite the grievance review and response.
                                                                                                                                    L
                                                                                                                                l
12 ·················································o•Near,/.'RoJ~)is,.. ,.6:.4063"(C:0:·1l?.f, rfbiti1Miri\1ffo~rocffiffi1~2
                                                                                                                                    L
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                                                                 ILLINOIS DEPARTMENT OF CORRECTIONS

                                                         Offender Request for Religious Diet


                                                                                 Facility


I,___________ __ __ __ ___ , ID#: _ __ __ _ ____, hereby request a religious
                   Offender Name (Last. First M. I.)
diet accommodation. I declare my religious affiliation as _ __ __ __ ____. This request is for:
      D     A _ _ _ _ _ _ _ _ __ _ __                                diet as an integral part of the practice of my declared religion .
                       Type of diet (e.g. kosher, vegan, etc.)

      D     A religious meal for the observance of the following religious holiday or ceremony:

Justification or basis of request:
Examples of basis may include such things as documentation from religious textbook or faith leader; teaching of faith leader: interp t tion of holy book, etc.)




                                                                 Conditions of Participation

 I understand that participation in a religious diet must be based on a                                c:.LA~:Q,,v
 is granted, I understand and acknowledge that:

 •      Receipt of the religious diet will begin on the first day of a mo t
        one calendar month.
 •      I may request to terminate a religious diet at any ti                              e must be submitted in writing on
        an Offender Request, DOC 0286, and will not be e                                   ay of the month following in which
        the request was received.
 •      I should not purchase or possess any food items th t re not p                f the religious diet and possessing food
        that violates the diet I requested may be deemed to no,rYT1<1nc::1ru11•0 a lack of sincerity.
  •     I am prohibited from exchanging or giv·                y any relig1  cliet food or tray or taking, accepting, or trading
        for a food tray or for food from a foo t y o er than my approved diet tray and the violation of such is
        grounds for discipline under Ill. Ad . ode 504.
  •     My commissary food purchases wil b monitore y the Dietary Department and purchases of food that
        violate the diet I requested L.k,,,.._..,,},,+,e ed to     onstrate a lack of sincerity.
  •     My mealtime attendance t                      o           ceptance of the specially prepared diet tray is mandatory.
        understand that I shoul       t miss m r than three meals per week, without providing written justification to the
        Chaplain or Dietary Ma a er. I unde sand that unjustified failure to attend meals may be deemed to
        demonstrate a lack of si c ity.

                                                            these conditions for participation in a religious diet, and that I have signed



                                                             Offender Si nature                                                               Date


  Official Use Only
   D Approved                                                                                                                                                  Date
                                                   Chaplain (Print Name)                                  Chaplain (Signature)



      D   Approved           D     Denied
                                                                                                                                                               Date
                                                   Chief Administrative Officer (Print Name)              Chief Administrative Officer (Signature)

      If denied, provide reason:


                                                       Date received by Dietary:
                                                       If approved, religious d iets shall begin on the first day of the month following that in which the Request was
                                                       received.

                                                                                                                                                                 DOC 0388 (Eff.
 Distribution:   Chaplain, Dietary Manager,
 11/2012)
                 Offender                              O'Neal v. Rojas, 16-4063 (C.D. Ill.), Document No.                                               000232
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                                                       ILLINOIS D EPARTMENT OF CORRECTIONS

                                                Notice to Discontinue Religious Diet



Offender Name : _ _ _ _ _ _ _ _ _ __ _ _ _ __ __                                                      ID#: _ _ _ _ _ _ _ _ __


    Type of Religious Diet:
                                      (Kosher, vegan, etc.)


The above offender:

                0     Has submitted a request, in writing, to voluntarily discontinue participation in the p e
                      approved religious diet. {Attach copy of Offender Request, DOC 0286)

                0     Shall have his or her participation in the previously approved religio
                      discontinued. Substantiation for the discontinuation is as follows·




The religious diet for the ab                                         n the last day of _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                 Month, Year




                                                                                                  Signature                           Date




                                                                                                  Signature                           Date




Distribution:       Chaplain                                                                                              DOC 0389 (Eff. 11/20 12)
                    Dietary Manager                                Prmft•d m1 lkqdnl /'{IJ't"r
                    Offender
                                               O'Neal v. Rojas, 16-4063 (C.D. Ill.), Document No.                                000231
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                            )
                                                 )
                        Plaintiff,               )
                                                 )
       V.                                        )            No. 18-4063-SEM-TSH
                                                 )
Manuel Rojas, et al.,                            )
                                                 )
                        Defendants.              )

               DEFENDANT BRJTTON'S RESPONSE TO PLAINTIFJ?'S
             REQUEST FOR ADMISSIONS SERVED SEPTEMBER 18, 2019

       Defendant. Freddie Britton, through his attorney, Kwame Raoul, Attorney General for the

State of Illinois, pursuant to Federal Rule of Civil Procedure 36, hereby prov ides h is Response to

Plaintiffs Request for Admission Served September 18, 2019:

    1. That he worked in the. ~11 Correctional Center (HCC) dietary department as a
 dietary food supervisor during all time relevant to this complaint .

       RESPONSE: Defendant admits he has worked at Hill Correctional Center in the
       dietary department for approximately the past 23 years.

    2. His job description include administering supplemental dietary food trays to
 qualifying inmates at HCC.

       RESPONSE: Defendant admits that if an offender is approved for a specific diet tray
       and is on the list to receive that diet tray, it is among Defendant's duties to provide
       that diet tray. Defendant denies he is solely responsible for providing diet trays to
       offenders.
    3. A~ong the dietary trays he administers        t.o   prisoners at HCC are for religious
purposes

        RESPONSE: Defendant admits he has provided diet trays for religious purposes to
        offenders at Hill Correctional Center.
    4. Including, but not limited to Hebrwe Israelites, Kosher, and among others.
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O ' Neal, N53022,                           )
                                                  )
                        Plaintiff,                )
                                                  )
        V.                                        )           No. 18-4063-SEM-TSH
                                                  )
Manuel Rojas, et al.,                             )
                                                  )
                        Defendants.               )

                                     CERTIFICATE OF SERVICE

        Clayton J. Ankney, Assistant Attorney General, herein certifies that he has served a copy
of the foregoing Defendant Rojas' Response to Plaint('/f's Interrogatories and Request for
Produ-::tio!: t:'J Documents Served September 20, 2019 upon:

             Aaron O'Neal #N53022                           Syed Ahmad, Brad Keller,
             Hill Correctional Center                      David Perkins, & Seth Uphoff
                  PO Box 1700                              Heyl Royster Voelker & Allen
              Galesburg, IL 61401                            300 Hamilton Boulevard
                                                                  PO Box 6199
                                                              Peoria, IL 61601-6199


by mailing a true copy thereof to the above addresses in an envelope duly addressed, bearing
proper first class postage, and deposited in the United States mail at Springfield, Illinois on
January 3, 2020.




                                                  Clayto
                                                  Assist




                                                                                                  7
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     RESPONSE: Defendant denies there is a special Hebrew Israelite diet tray.
     Defendant admits there is a kosher tray. Defendant admits there are other special diet
     trays, such as vegan trays.
   5. To receive a supplemental dietary foad trtay aor religious tenets , the recepient
mus t firt be approved by the institutional Olaplain, and subsequently ratified by the
institutional warden or his/ner designate.

     RESPONSE: Defendant admits that for an offender to receive a special diet tray,
     Plaintiff must receive approval from the facility Chaplain and the Warden or her
     designee.
   6. Once a,,~ inmate is approved for a supplem~ntal dietary food tray hased on reli-
gious tenets , the inmates is then placed on a list that is maintained in various
locations, including the dietary department/chow hall.

     RESPONSE: Defendant admits that the names of offenders approved to receive
     specific diet trays are given to the dietary _department and those names are placed on
     -a list of offenders approved to receive that specific diet tray. Defendant further admits
     the list of offenders approved for a specific diet tray is maintained in the dietary
     department and in the chow ball.

 7. Plaintiff, Aaron O'Neal has, on ocassion, requested that he be given a supple-

mental dietary food tray in observence of his religious tenets .
     RESPONSE: Defendant admits that on one occasion, Plaintiff asked Defendant for a
     Catholic meal.

    8. The last time plaintiff O'Neal made such a request of you. you checked the list
and informed hi.,n that Chaplain Rojas had not yet provided the dietary department with
a l i st for Cathol ic's observing their religious tenets, and that you could not give
him a dietary food supplemental tray (meatless) for that reason .

     RESPONSE: Defendant admits that on the one occasion Plaintiff asked Defendant
     for a Catholic meal, Defendant checked to see if there was a list for a Catholic meal.
     Defendant further admits there was no list for a Catholic meal. Defendant admits he
     cannot provide special diet trays to offenders if they are not on a list to receive a
     special diet tray.

   9. There has been times, however, during the course of your employment as a dietary
food su~ sor t.i-?at the plaintiff, during the observence of his religious tenets has
requested a supplemental dietary food tray ;md there was a list for Catholics con-
taining the plainti ff ' s O;Neal's name.



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    RESPONSE: After a reasonable inquiry, Defendant lacks knowledge or information
    sufficient to admit or deny this request.

  10. Your inmediate food supervisor, the dietary manager, is r esponsible for posting
such a list to become available to his subordinates.

    RESPONSE: Defendant admits that after receiving information about who is
    approved for a special diet tray, the Dietary Manager posts a list of individuals
    approved for a special diet tray.


                                           Respectfully submitted,
                                           Freddie Britton,
                                               Defendant,
                                           Kwame Raoul, Illinois Attorney General,




                                             layton, .· Ankne , No. 6320224
                                           Assis / t Attorney General
                                           500 outh Second Street
                                           Springfield, Illinois 62701
                                           (217) 785-4555 Phone
                                           (217) 524-5091 Fax
                                            Email: canknev(a atg.slat1.:. iI. us




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                            )
                                                 )
                         Plaintiff,              )
                                                 )
       V.                                        )           No. 18-4063-SEM-TSH
                                                 )
Manuel Rojas, et al. ,                           )
                                                 )
                         Defendants.             )

      DEFENDANT FROST'S RESPONSE TO PLAINTIFF'S SECOND SET OF
    INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS
                    SERVED SEPTEMBER 18, 2019

       Defendant, ] ()hn Frost, through his attorney, Kwame Raoul, Attorney General for the State

of Illinois, pursuant to Federal Rules of Civil Procedure 33 and 34, hereby provides his Response

to Plaintiffs Second Set oflnterrogatories and Request for Production served September 18, 2019:



        1.     State the duties of defendant Baldwin, Director of Corrections of the Illinois

Department of Correction (IDOC). If those duties are set forth in any job description or other

document, produce the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintiff's Second Set
of Interrogatories and Request for Production. Subject to and without waiving said
objections, Defendant Baldwin is not the current Director of the IDOC. However, the duties
of the Director of the Illinois Department of Corrections are contained in 730 ILCS 5/3-2-3.
The Director's duties may · also be detailed in Illinois Department of Corrections
Administrative Directives.

       2.      State whether defendant Baldwin is responsible for or involved in compiling a

Religious Practice Advisory Board for establishing religious tenets for prison inmates, and list the

names any any (sic) persons from the Catholic church who may participate in or sit on the
                   4:18-cv-04063-SEM-TSH # 106-1            Page 24 of 34




 referenced board in any fashion. If those duties are set forth in any job_description or other

document, produce the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production. Subject to and without waiving said
objections, Defendant Baldwin is not the current Director of the IDOC. However, Plaintiff
is referred to Administrative Directive 04.25. 101 Chaplaincy Services, Bates stamped
000009-000012 and 20 Ill. Admin. Code 425.40 et seq., Bates stamped 000045-000061.

       {Jj.    Defendant Baldwin is responsible for the actions of any IDOC staff who is

subordinate to him who does not comply with any and all well establish IDOC Rules,

Administrative and Departmental Directives.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production.

       €J      Defendant _Baldwind (sic) acquiesced to the finding of defendant's Phoenix,

Dorethy, Frost, and Gans' finding's regarding Plaintiff's grievance complaining of denial of equal

Catholic worship as relevant to this complaint.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production.

      f,!)     A proper investigation by defendant's Dorethy, Phoenix, Frost and Gans would

have directed them to the Religious Practice Advisory Boards findings for Catholic Tenets would

have resolved the grievance in terms of whether plaintiff religious tenets required a supplemental

meatless diet during the month of Lent/Ash Wednesday.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintiff's Second Set
of Interrogatories and Request for Production.

     f.j       As an employee of the IDOC, defendant Rojas, as Chaplain is required to

participate in any investigation where his department (Chaplaincy) is a su~ject of to resolve any

matters in dispute. If those duties are set forth in any job description or document, produce the

document.


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RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Re9¥est for Production. Subject to and without waiving said
objections, generally,f'every IDOC employee is required to report unusual incident and


coop•owi~f•::,::~:::.:::::::•t:~:::::~:::lled in defense ofhis fillegations, iliose
witnesses are to be consulted with or a reason given as to why there is no need to consult those

·witness. If that procedure is set forth in any document related to the grievance process, produce

the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production. Subject to and without waiving said
objections, to the extent Plaintiff seeks documents which show the grievance process and
procedure, Plaintiff is referred to Administrative Directive 04.01.114 Local Offender
Grievance Procedures. Bates stamped 000019-000025, and 20 Illinois Administrative Code
504, Subpart F: Grievanct: Procedures for Offenders, Bates stamped 000031-000042.

      (V          Defendant Rojas' refusfil to participate in ilie grievance investigation related to the
plaintiff, stating he would not make a statement without his attorney contravened IDOC's rules

directives. If those duties are the subject set forth in any job description, produce the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintiff's Second Set
of Interrogatories and Request for ·Production.
            /,
      (\ !
       ('     '
                  Defendant's Frost and Gans willfully ignored the proper protocol for investigating
        V

a prisoners grievance and denied the plaintiffs grievance without any supporting evidence for

such denial, indicative of bias toward the plaintiff.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production.

            10.   Defendant Rojas, in removing plaintiff from the Curssillo list did not provide.

plaintiff with any alternative means of practicing Curssillo.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintiff's Second Set
of Interrontories and Request for Production. Subject to and without waiving said
objections, I am not personally aware of whether Plaintiff was removed from the list to
participate in Cursillo or if Manuel Rojas removed Plaintiff from that list:.,,1


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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                             )
                                                  )
                        Plaintiff,                )
                                                  )
       V.                                         )            No. 18-4063-SEM-TSH
                                                  )
Manuel Rojas, et al.,                             )
                                                  )
                        Defendants.               )

                                     CERTIFICATE OF SERVICE

       Clayton J. Ankney, Assistant Attorney General, herein certifies that he has served a copy
of the foregoing Defendant Frost's Response to Plaintiff's Second Set of Interrogatories and
R~questfor Production of Documents Served ~eptetr1ber io, 2019 upon:

            Aaron O'Neal #N53022                            Syed Ahmad, Brad Keller,
            Hill Correctional Center                       David Perkins, & Seth Uphoff
                 PO Box 1700                               Heyl Royster Voelker & Allen
             Galesburg, IL 61401                             300 Hamilton Boulevard
                                                                  PO Box 6199
                                                              Peori~, IL 61 601-61 99


by mailing a true copy thereof to the above addresses in an envelope duly addressed, bearing
proper first class postage, and deposited in the United States mail at Springfield, Illinois on
January 3, 2020.




                                                           /
                                                  Claytont
                                                        I
                                                           . Ankney, No. 6320224
                                                  Assist~ Attorney General




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                             4:18-cv-04063-SEM-TSH # 106-1             Page 27 of 34




RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Re9-¥est for Production. Subject to and without waiving said
objections, generally,l'every IDOC employee is required to report unusual incident and
                         0


coop•@wit:f•a :,:::::.::::::s:•::~:i:.::~=~alledin defense ofhis allegations, those
witnesses are to be consulted with or a reason given as to why there is no need to consult those

witness. If that procedure is set forth in any document related to the grievance process, produce

the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plai.n tifrs Second Set
of Interrogatories and Request for Production. Subject to and without waiving said
objections, to the extent Plaintiff seeks documents which show the grievance process and
procedure, Plaintiff is referred to Administrative Directive 04.01.114 Local Offender
Grievance Procedures. Bates stamped 000019-000025, and 20 Illinois Administrative Code
504, Subpart F: Grievanc~ Procedures for Offenders, Bates stamped 000031-000042.
      /: ')
      (~)              Defendant Rojas' refusal to participate in the grievance investigation related to the

plaintiff, stating he would not make a statement without his attorney contravened IDOC's rules

directives. If those duties are the subject set forth in any job description, produce the document.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for .Production.
       j .... ,   ·\


      ~ -)             Defendant's Frost and Gans willfully ignored the proper protocol for investigating

a prisoners grievance and denied the plaintiffs grievance without any supporting evidence for

such denial, indicative of bias toward the plaintiff.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interrogatories and Request for Production.

           10.         Defendant Rojas, in removing plaintiff from the Curssillo list did not provide.

plaintiff with any alternative means of practicing Curssillo.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintifrs Second Set
of Interro~tories and Request for Production. Subject to and without waiving said
objections, I am not personally aware of whether Plaintiff was removed from the list to
participate in Cursillo or if Manuel Rojas removed Plaintiff from that list~


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       11.     Such denial as stated in paragraph 10 was in retaliation of plaintiff requesting a

dietary meatless substitute to comply with the Catholic religious tenets of Lent/Ash Wednesday.

RESPONSE: Defendants refer Plaintiff to Defendants' objections to Plaintiffs Second Set
of Interro~tories and Request for Production. Subject to and without waiving said
objections, I am not personally aware of whether Plaintiff was removed from the list to
participate in Cursillo or if Manuel Rojas removed Plaintiff from that list.:.,

                                                Respectfully submitted,
                                                John Frost,
                                                    Defendant,
                                                K wame Raoul, Illinois Attorney General,




                                                 Email: cankneyw°!atg.state. ii.us




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                             )
                                                  )
                         Plaintiff,               )
                                                  )
       V.                                         )              No. 18-4063-SEM-TSH
                                                  )
Manuel Rojas, et al. ,                            )
                                                  )
                         Defendants.              )

                                      CERTIFICATE OF SERVICE

       Clayton J. Ankney, Assistant Attorney General, herein certifies that he has served a copy
of the foregoing Defendant Frost 's Response to Plaintiff's Second Set of Interrogatories and
R':!questfor Production a/Documents Served ~epte,,1ber 18, 2019 upon:

            Aaron O'Neal #N53022                                Syed Ahmad, Brad Keller,
            Hill Con-ectional Center                           David Perkins, & Seth Uphoff
                  PO Box 1700                                  Heyl Royster Voelker & Allen
             Galesburg, IL 6140 l                                300 Hamilton Boulevard
                                                                      PO Box 6 199
                                                                  Peoria, IL 61601-6199


by mailing a true copy thereof to the above addresses in an envelope duly addressed, bearing
proper first class postage, and deposited in the United States mail at Springfield, Illinois on
January 3, 2020.



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                                                                •      r                   ½>>


                                                               "( Ankney, No. 6320224
                                                                Attorney General




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UNITED STATES DISTRICT COURT                        )                     O'Neal v. Rojas, et al.
                                                    )
CENTRAL DISTRICT OF ILLINOIS                        )                                No.18-4063


                                       DECLARATION

       Pursuant to 28 U.S.C. § 1746, I, John Frost, declare under penalty of perjury that the facts
and infonnation contained in Defendant Frost's Response to Plaintiff's Second Set of
Interrogatories and Request for Production of Documents Served September 18, 2019, are true
and accrnate to the best of my knowledge, infonnation, and belief.


Executed on this ~ Y      oAt~              20J1



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        4:18-cv-04063-SEM-TSH # 36                     Page 1 of 4                                                         E-FILED
                                                                                 Thu rsday, 30 August, 2018 10:47:39 AM
                                                                                            Clerk, U.S. District Court, !LCD

                           lN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O'NEAL, #N53022,                                     )
                                                           )
                           Plaintiff,                      )
                                                           )
        V.                                                 )             No. 18-4063-SEM-TSH
                                                           )
MANUEL ROJAS, et al.,                                      )
                                                           )
                           Defendants.                     )

                             ANSWER AND AFFIRMATIVE DEFENSES

        NOW COME Defendants Manuel Rojas, Stephanie Dorethy, Freddje Britton, John Frost,

Steve Gans, Melissa Pelker, and John Baldwin, by and through their attorney, Lisa Madigan, Attorney

General for the State of Illinois, and pursuant to the Court's Merit Review Opinion [Doc. 14], hereby

submit their Answer and Affirmative Defenses to Plaintiffs Complaint [Doc. l], stating as follows:

                                                     Allegations 1

         1.       Plaintiff is Catholic and has requested to be served a meatless meal on Fridays during

lent.

        ANSWER: Defendants admit Plaintiff identifies as Catholic and has previously
        requested to be served a meatless meal on Fridays during Lent.

         2.       When his request was denied, Plaintiff confronted Defendant Rojas (the Chaplain at

Hill Correctional Center), whereupon Defendant Rojas retaliated against Plaintiff by removing

Plaintiff as a participant in a special Catholic service known as Cursillo.

         ANSWER: Defendant Rojas admits he is the Chaplain at Hill Correctional Center.
         Defendant Rojas denies the remaining allegations in this paragraph. The remaining
         Defendants lack knowledge or information sufficient to form a belief as to the allegations
         in this paragraph.



1 Pursuant to Local Rule I 6.3(E)(2) for the Central District of Illinois, ·'the answer and subsequent pleadings will be

to the issues stated in the Case Management Order."
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       3.      All the other Defendants acquiesced or played a pait in these denials.

       ANSWER: Defendants deny the allegations in this paragraph.

       4.      At this point, the Court cannot rule out claims under the First Amendment (right to

practice religion), Fourteenth Amendment (equal protection), and the Religious Land Use and

Institutionalized Persons Act (right to practice religion).

       ANSWER: Defendants deny violating Plaintifrs rights under the First Amendment, the
       Fourteenth Amendment, or the Religious Land Use and Institutionalized Persons Act,
       and Defendants deny violating any of Plaintifrs rights whatsoever. Defendants deny
       Plaintiff is entitled to any relief whatsoever.

       5.      Plaintiff may also state a retaliation claim against Defendant Rojas, which will proceed

for further development.

       ANSWER: Defendant Rojas denies retaliating against Plaintiff and denies violating
       Plaintifr s rights whatsoever. The remaining Defendants lack knowledge or information
       sufficient to form a belief as to the allegations in this paragraph.

                                         Relief Requested

       Defendants deny Plaintiff is entitled to any relief whatsoever.

                                           Jurv Demand

       Defendants demand a trial by jury.

                                       Affirmative Defenses

       A.      Sovereign Immunity

        Under the Eleventh Amendment, Plaintiff's claims for monetary damages against the

Defendants in their official capacities are barred by sovereign immunity. To the extent Plaintiff is

suing Defendants for injunctive relief that is not intended to address ongoing constitutional or

statutory violations, the Eleventh Amendment and sovereign immunity bar such claims.




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       B.      Administrative Exhaustion.

       Plaintiff filed this lawsuit regarding the conduct of correctional officials while in the

custody of the Illinois Department of Corrections and has failed to exhaust administrative remedies

prior to fil ing his suit. Plaintiffs suit is therefore barred by 42 U.S.C. I 997e(a).

       C.       Qualified Immunity.

       At all times relevant to the Plaintiffs claims, the defendants charged herein acted in good

faith in the performance of their official duties without violating Plaintiffs clearly established

statutory or constitutional rights of which a reasonable person would have been aware. Defendants

are therefore protected from liability by the doctrine of qualified immunity.

       D.       Statutes of Limitations.

        Plaintiff's claims arising more than two years before filing to which toll ing does not apply

are barred by the applicable statutes of limitations.

        WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

honorable Court deny Plaintiff any relief whatsoever.

                                                    MANUEL ROJAS, STEPHANIE DORETHY,
                                                    FREDDIE BRITTON, JOHN FROST, STEVE
                                                    GANS, MELISSA PELKER, and JOHN
                                                    BALDWIN,

                                                         Defendants,

Clayton J. Ankney, #6320224                         LISA MADIGAN, Illinois Attorney General,
Assistant Attorney General
500 South Second Street                                  Attorney for Defendants,
Springfield, Illinois 62701
(217) 782-2077 Phone                                By: s/ Clayton J. Ankney
(217) 524-5091 Fax                                     Clayton J. Ankney
Email: cankney@atg.state.il. us                        Assistant Attorney General




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O'NEAL, #N53022,                           )
                                                 )
                      Plaintiff,                 )
                                                 )
       V.                                        )          No. 18-4063-SEM-TSH
                                                 )
MANUEL ROJAS, et al.,                            )
                                                 )
                      Defendants.                )

                                   CERTIFICATE OF SERVICE

        I hereby ce1tify that on August 30, 2018, the foregoing document, Answer and Affirmative
Defenses, was electronically filed with the Clerk of the Court using the CM/ECF system which
will electronically send notice to:

Brad William Keller: bkeller@heylroyster.com

and I hereby certify that on the same date, I caused a copy of the foregoing described document to
be mailed by United States Postal Service, in an envelope properly addressed and fully prepaid, to
the foliowing non-registered participant:

Aaron O'Neal, N53022
Hill Correctional Center
Inmate Mail/Parcels
P.O. Box 1700
Galesburg, IL 6140 l

                                                 s/ Clayton J. Anknev
                                                 Clayton J. Ankney
                                                 Assistant Attorney General




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